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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

         Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,

         Defendants.


                                               ORDER


          This matter is before the Court sua sponte in connection with the Plaintiffs’ filing of the

  Stipulation of Dismissal of All Claims against the Park County Defendants (ECF No. 141, the

  “Stipulation of Dismissal”). The Stipulation of Dismissal purports to stipulate to the dismissal,

  with prejudice, of all remaining claims in this action against Defendants Cindy Hardey, Bobbi

  Priestly, Monte Gore, and Fred Wegener in their individual and official capacities. (Id.) The

  Court also notes that its previous Order of September 29, 2015 dismissed all claims then pending

  against Defendant Ashely Olds. (ECF No. 110.)

         The Stipulation of Dismissal does not suffice to operate, in and of itself, as a dismissal of

  all claims in this matter. See Fed. R. Civ. P. 41(a)(1)(A)(ii) (permitting voluntary dismissal

  without a court order by the filing of a stipulation of dismissal only if signed by all parties who
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  have appeared). However, in light of the parties’ agreement as evidenced by that document, the

  Court will treat the Stipulation of Dismissal as an unopposed motion to dismiss, which the Court

  hereby GRANTS.

          Based on the foregoing, the Court ORDERS:

          1. The claims and causes of action asserted by Plaintiffs against Defendants Cindy

  Hardey, Bobbi Priestly, Monte Gore, and Fred Wegener in their individual and official capacities

  are in all respects DISMISSED with prejudice. Each party shall pay their own costs and fees with

  respect to these Defendants and the claims asserted against these Defendants.

          2. Defendants’ Motion for a One-Day Extension of Time to File a Motion in Limine (ECF

  No. 125) is DISMISSED as moot.

          3. Defendants’ Motion to Strike Plaintiffs’ Expert Witness Dr. Jena Questen Pursuant to

  Fed. R. Civ. P. 26(a)(2)(B) And to Preclude Expert Testimony Pursuant to Fed. R. Evid. 702 (ECF

  No. 137) is DISMISSED as moot.

          4. The Clerk of the Court is directed to enter JUDGMENT in favor of Defendant Ashley

  Olds and against Plaintiffs pursuant to the Court’s Order of September 29, 2015. (See ECF No.

  110.)

     DATED this 11th day of February, 2016.

                                                      BY THE COURT:



                                                      ____________________________________

                                                      RAYMOND P. MOORE
                                                      United States District Judge
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